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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

CYNDAL TODD
Plaintiff,

vs. Civil Action No. 1:12-cv-11705-JLT

V\./VVV`/

NATIONAL RECOVERY SOLUTIONS, LLC., )
JOHN DOES, and JANE DOES )
Defendants, )

)

 

NOTICE OF SETTLEMENT

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached a
Settlement. The Plaintiff anticipates filing a notice of Withdrawal of Complaint and Voluntary
dismissal of this action With prejudice pursuant to FED. R. CIV. P. 41 (a) Within 20 days.

Dated: October 9, 2012

RESPECTFULLY SUBMI'ITED:

/s/ Kevin V. K. Crick‘ Esq.

Kevin V. K. Crick

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PROOF OF SERVICE

I hereby certify that on October 9, 2012, a copy of the foregoing Was filed electronically in
accordance With the Court’s Electronic Filing Guide]ines. Notice of this filing Will be sent to all
parties by operation of the court’s electronic filing system and electronic email. Parties may access
this filing through the court’s system.

/s/ Kevin V. K. Crick` Esq.

